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 2                                       UNITED STATES DISTRICT COURT
 3                                           DISTRICT OF NEVADA
 4                                                       ***
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 6   UNITED STATES OF AMERICA,
 7                          Plaintiff,                      2:12-cr-00463-JCM-VCF
 8   vs.                                                    ORDER
 9   FREDERICK VERNON WILLIAMS, et al.,

10                          Defendants.

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12           Before the Court is Defendant’s Motion to Proced(sic) in Forma Pauperis (#168) filed on
13   November 27, 2013. Defendant requests to proceed in forma pauperis as he has no resources or income.
14   Id. A hearing on Defendant’s Motion was held on December 23, 2013. At the hearing, the Court
15   clarified that as stated in Order (#182), Federal Public Defender Brenda Wexler, Esq. is appointed as
16   advisory counsel. Defendant Williams acknowledged that he understands Ms. Wexler’s position as
17   advisory counsel only. Defendant’s Motion to Proced(sic) in Forma Pauperis (#168) is denied as moot.
18           At the hearing, the Government seeks extensions to January 10, 2014 to file oppositions to the
19   three pending motions: (1) Motion to Suppress Evidence and for Return of Seized Property (#175), (2)
20   Motion to Dismiss Indictment (#176) and, (3) Defense Motion to Compel Discovery (#180). Mr.
21   Williams does not object to the extensions and states that he will need until January 17, 2014 to file the
22   replies. The parties state that they will file a Stipulation and Order to Continue Trial Date.
23           Accordingly,
24           IT IS HEREBY ORDERED that Defendant’s Motion to Proced(sic) in Forma Pauperis (#168) is
25   DENIED as MOOT.
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 1          IT IS FURTHER ORDERED that the Oppositions to (1) Motion to Suppress Evidence and for

 2   Return of Seized Property (#175), (2) Motion to Dismiss Indictment (#176) and, (3) Defense Motion to

 3   Compel Discovery (#180) are due on January 10, 2014. The replies in support of these motions are due

 4   on January 17, 2014.

 5          DATED this 23rd day of December, 2013.
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 6                                                            CAM FERENBACH
                                                              UNITED STATES MAGISTRATE JUDGE
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